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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

AEROPOWER, LTD, et al.,                   )
                                          )
                     Plaintiff,           )
                                          )
v.                                        )      CIVIL ACTION NO. 03cv889-WKW
                                          )      [WO]
STEVE MATHERLY, et al.,                   )
                                          )
                     Defendants.          )

                                  ORDER ON MOTION

       On 9 August 2004, the defendant filed a Motion to Quash, Motion For a Protective

Order, or in the Alternative a Motion to Stay and Objection to Subpoena (Doc. # 67). For

good cause, it is ORDERED as follows:

       1.     The Motion to Quash the Subpoenas is GRANTED.

       2.     The Motion For Protective Order is DENIED as moot.

       3.     The Motion to Stay is DENIED as moot.

       4.     The Objection to Subpoena is OVERRULED as moot.

The court is mindful that the defendant filed a similar motion to quash subpoena on 4 August

2004 (Doc. # 65), which the court granted by order entered on 12 August 2004(Doc. # 75).

       DONE this 1st day of August, 2006.




                                          /s/ Vanzetta Penn McPherson
                                          VANZETTA PENN MCPHERSON
                                          UNITED STATES MAGISTRATE JUDGE
